                                      United States Bankruptcy Court
                                           District of Arizona
In re:                                                                                  Case No. 16-13256-BMW
RONALD RELF                                                                             Chapter 13
VANESSA RELF
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0970-2           User: stroude                Page 1 of 2                   Date Rcvd: Sep 17, 2018
                               Form ID: nch13pln            Total Noticed: 41


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 19, 2018.
db/jdb          RONALD RELF,    VANESSA RELF,   5307 W MURIEL DR,    GLENDALE, AZ 85308-5356
aty            +ANDREW M. DUDLEY,    EDWARD J. MANEY, CHAPTER 13 TRUSTEE,     101 N. FIRST AVE., STE 1775,
                 PHOENIX, AZ 85003-1927
cr             +FLAGSHIP CREDIT ACCEPTANCE, LLC,    c/o Patricia Doyle-Kossick,      4500 S. Lakeshore Drive,
                 Suite 575,    Tempe, AZ 85282-7187
md             +JAMES F. KAHN,    BANKRUPTCY LEGAL CENTER,    301 E. BETHANY HOME RD., STE. C-195,
                 PHOENIX, AZ 85012-1266
cr             +U.S. Bank National Association, as trustee, on beh,      c/o McCarthy & Holthus, LLP,
                 8502 E. Via De Ventura, Suite 200,     Scottsdale, AZ 85258-3240
14326667       +1st Finl Invstmnt Fund,    3091 Governors Lake Dr,     Peachtree Corners GA 30071-1135
14326668        Abrazo Arrowhead Campus,    P O Box 745823,    Los Angeles CA 90074-5823
14326670        Bureau of Medical Economics,    PO Box 20247,    Phoenix AZ 85036-0247
14417122        CAPITAL ONE, N.A.,    C/O BECKET AND LEE LLP,    PO BOX 3001,     MALVERN PA 19355-0701
14326673        Carolyn E. Kurylas, MD PC,    P O Box 39179,    Phoenix AZ 85069-9179
14326674       +Central Financial Control,    PO Box 66044,    Anaheim CA 92816-6044
14326675       +Commonwealth Finanical Systems, Inc.,     245 Main Street,    Dickson City PA 18519-1641
14326679        Gateway Surgery Center,    690 N Cofco Center Ct.,     Suite 150,    Phoenix AZ 85008-6469
14326681       +Honorhealth Osborn Campus,    7400 E Osborn Rd,    Scottsdale AZ 85251-6432
14326055        McCarthy & Holthus LLP,    1770 Fourth Avenue,    San Diego, CA 92101-2607
14346207       +Michigan State Housing,    Development Authority,    735 E Michigan Ave,     Lansing MI 48912-1474
14326685      #+Progressive Finance Services, Inc.,     P O Box 22083,    Tempe AZ 85285-2083
14326686        Radavantage,    Lockbox# 9452 P O Box 8500,    Philadelphia PA 19178-9452
14326688        Sonora Quest Laboratories,    PO BOX 52880,    Phoenix AZ 85072-2880
14326690        Stoneleigh Associates,    P O Box 1479,    Lombard IL 60148-8479
14326691        The Orthopedic Clinic Association,    P O Box 664014,     Dallas TX 75266-4014
14326692       +Universal Recovery Corp,    2880 Sunrise Blvd,    Ste 136,    Rancho Cordova CA 95742-6102
14326693       +West Glen Community Inc,    c/o Brown Olcott, PLLC,     373 S. Main Ave,    Tucson, AZ 85701-2225
14326694       +Western General Insurance,    P.O. BOX 4493,    Woodland Hills CA 91365-4493
14724048        c/o McCarthy & Holthus LLP,    1770 Fourth Avenue,     San Diego, CA 92101-2607

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: bankruptcynotices@azdor.gov Sep 18 2018 02:40:21        AZ DEPARTMENT OF REVENUE,
                 BANKRUPTCY & LITIGATION,     1600 W. MONROE, 7TH FL.,    PHOENIX, AZ 85007-2650
14326669        E-mail/Text: bankruptcynotices@azdor.gov Sep 18 2018 02:40:21        Arizona Dept of Revenue,
                 Special Operations Section,     1600 W MONROE ST RM 720,    PHOENIX AZ 85007-2612
14427966        E-mail/PDF: resurgentbknotifications@resurgent.com Sep 18 2018 02:53:45
                 Ashley Funding Services LLC,     c/o Resurgent Capital Services,    PO Box 10587,
                 Greenville, SC    29603-0587
14326672       +E-mail/PDF: AIS.cocard.ebn@americaninfosource.com Sep 18 2018 02:39:08         Capital One,
                 Po Box 30285,    Salt Lake City UT 84130-0285
14326676       +E-mail/Text: bankruptcy_notifications@ccsusa.com Sep 18 2018 02:44:49
                 Credit Collections Svc,    Po Box 773,    Needham MA 02494-0918
14326677       +E-mail/PDF: creditonebknotifications@resurgent.com Sep 18 2018 02:38:13         Credit One Bank Na,
                 Po Box 98873,    Las Vegas NV 89193-8873
14322605       +E-mail/Text: bankruptcy@flagshipcredit.com Sep 18 2018 02:43:17         Flagship Credit Acceptance,
                 PO BOX 3807,    coppell, TX 75019-4354
14326678       +E-mail/Text: bankruptcy@flagshipcredit.com Sep 18 2018 02:43:17         Flagship Credit Acceptance,
                 Po Box 965,    Chadds Ford PA 19317-0643
14326680       +E-mail/Text: RMOpsSupport@alorica.com Sep 18 2018 02:43:08        Global Receivables Sol,
                 2703 N Highway 75,    Sherman TX 75090-2567
14326682        E-mail/Text: cio.bncmail@irs.gov Sep 18 2018 02:41:15        Internal Revenue Service,
                 Centralized Insolvency Operations,     PO BOX 7346,    Philadelphia PA 19101-7346
14326683       +E-mail/Text: bnckohlsnotices@becket-lee.com Sep 18 2018 02:40:52         Kohls/Capital One,
                 Po Box 3120,    Milwaukee WI 53201-3120
14326684       +E-mail/Text: bnc@nordstrom.com Sep 18 2018 02:40:56        Nordstrom Fsb,    Correspondence,
                 Po Box 6555,    Englewood CO 80155-6555
14451684        E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Sep 18 2018 02:53:56
                 Portfolio Recovery Associates, LLC,     POB 12914,    Norfolk VA 23541
14326056        E-mail/Text: jennifer.chacon@spservicing.com Sep 18 2018 02:45:17
                 Select Portfolio Servicing, Inc.,     P.O. Box 65250,    Salt Lake City, UT 84165-0250
14326689       +E-mail/Text: bankruptcy@sdil.net Sep 18 2018 02:44:48        Southwest Diagnostic Imaging,
                 2323 W. Rose Garden Lane,     Phoenix AZ 85027-2530
14454425        E-mail/Text: jennifer.chacon@spservicing.com Sep 18 2018 02:45:17
                 U.S. Bank National Association,     c/o Select Portfolio Servicing, Inc.,     P.O. Box 65250,
                 Salt Lake City, UT 84165-0250
                                                                                                TOTAL: 16

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
District/off: 0970-2                  User: stroude                      Page 2 of 2                          Date Rcvd: Sep 17, 2018
                                      Form ID: nch13pln                  Total Noticed: 41

14326671*             Bureau of Medical Economics,   PO Box 20247,   Phoenix AZ 85036-0247
14326687*            +Select Portfolio Servicing, Inc,   PO Box 65250,    Salt Lake City UT 84165-0250
14724049*             Select Portfolio Servicing, Inc.,   P.O. Box 65250,    Salt Lake City, UT 84165-0250
                                                                                                   TOTALS: 0, * 3, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 19, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 13, 2018 at the address(es) listed below:
              BRIAN M. BLUM    on behalf of Debtor RONALD RELF brian@turnaroundteam.com,
               teresie@turnaroundteam.com,paula@turnaroundteam.com,kyle@turnaroundteam.com
              BRIAN M. BLUM    on behalf of Joint Debtor VANESSA RELF brian@turnaroundteam.com,
               teresie@turnaroundteam.com,paula@turnaroundteam.com,kyle@turnaroundteam.com
              DANIEL E GARRISON    on behalf of Joint Debtor VANESSA RELF dan@turnaroundteam.com,
               teresie@turnaroundteam.com,brian@turnaroundteam.com,kyle@turnaroundteam.com,
               paula@turnaroundteam.com
              DANIEL E GARRISON    on behalf of Debtor RONALD RELF dan@turnaroundteam.com,
               teresie@turnaroundteam.com,brian@turnaroundteam.com,kyle@turnaroundteam.com,
               paula@turnaroundteam.com
              EDWARD 5 MANEY     on behalf of Trustee EDWARD J. MANEY courtecf@maney13trustee.com
              EDWARD J. MANEY    courtecf@maney13trustee.com
              JAMES F KAHN    on behalf of Mediator JAMES F. KAHN james.kahn@azbk.biz, jfkpcecf@gmail.com,
               ahartkr68748@notify.bestcase.com
              KRISTIN E MCDONALD    on behalf of Creditor    U.S. Bank National Association, as trustee, on
               behalf of the holders of the Credit Suisse First Boston Mortgage Securities Corp., Home Equity
               Pass Through Certificates, Series 2007-1 bknotice@mccarthyholthus.com,
               kmcdonald@mccarthyholthus.com,kmcdonald@ecf.courtdrive.com
              KYLE A. KINNEY    on behalf of Debtor RONALD RELF kyle@kinneylaw.net, paulahillock@kinneylaw.net
              KYLE A. KINNEY    on behalf of Joint Debtor VANESSA RELF kyle@kinneylaw.net,
               paulahillock@kinneylaw.net
              LAKSHMI JAGANNATH     on behalf of Creditor    U.S. Bank National Association, as trustee, on
               behalf of the holders of the Credit Suisse First Boston Mortgage Securities Corp., Home Equity
               Pass Through Certificates, Series 2007-1 bknotice@mccarthyholthus.com
              MARY B. MARTIN    on behalf of Trustee EDWARD J. MANEY mary@maney13trustee.com
              PATRICIA DOYLE-KOSSICK     on behalf of Creditor    FLAGSHIP CREDIT ACCEPTANCE, LLC
               pdk@pdklawfirm.com
              U.S. TRUSTEE    USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                              TOTAL: 14
FORM nch13pln
REVISED 06/04/2018



                                UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF ARIZONA

In re:                                                        Case No.: 2:16−bk−13256−BMW

    RONALD RELF                                               Chapter: 13
    5307 W MURIEL DR
    GLENDALE, AZ 85308−5356
    SSAN: xxx−xx−5588
    EIN:

    VANESSA RELF
    5307 W MURIEL DR
    GLENDALE, AZ 85308−5356
    SSAN: xxx−xx−8130
    EIN:

Debtor(s)

                        NOTICE OF DATE TO FILE OBJECTION TO CHAPTER 13 PLAN

    Notice is hereby given that the Debtor(s) have filed the enclosed or attached Chapter 13 Plan. Pursuant to Local
Rules 2084−9 and 2084−10, plan confirmation is governed by the following procedures:

1. Any objection by a creditor to the plan must be in writing and filed within the Bankruptcy Court, and copies
served on the following parties, no later than 14 days after the original date set for the meeting of creditors, or any
continuance thereof, or reinstatement of the case, or 28 days after service, whichever is later:
Address of the Bankruptcy Clerk's Office                          U.S. Bankruptcy Court, Arizona
                                                                  230 North First Avenue, Suite 101
                                                                  Phoenix, AZ 85003−1727

Address of Trustee                                                EDWARD J. MANEY
                                                                  101 N. FIRST AVE., SUITE 1775
                                                                  PHOENIX, AZ 85003

Address of Debtor(s)                                              RONALD RELF
                                                                  5307 W MURIEL DR
                                                                  GLENDALE, AZ 85308−5356

                                                                  VANESSA RELF
                                                                  5307 W MURIEL DR
                                                                  GLENDALE, AZ 85308−5356

Address of Debtor(s) Attorney                                     BRIAN M. BLUM
                                                                  THE TURNAROUND TEAM
                                                                  Western Skies Business Center
                                                                  1166 East Warner Road, Suite 205
                                                                  Gilbert, AZ 85296


                                   − − − NOTICE CONTINUES ON NEXT PAGE − − −
2.   The Trustee is to file a Recommendation within 28 days after the above date for creditor objections.

3. If creditors file no objections and the Trustee recommends confirmation, the Court may confirm the Plan without
a hearing.

4. If a creditor files an objection and/or the Trustee does not recommend confirmation, the Court may confirm a
plan without a hearing, provided the Trustee and all objecting creditors agree to a stipulated confirmation order. If
unable to so agree and stipulate, the Trustee or objecting creditor shall set the matter for hearing and provide notice to
the Debtor(s) and each objecting party.

5. For an original plan, the failure of a party in interest to timely file an objection to confirmation of the Plan
shall constitute acceptance of the Plan pursuant to 11 U.S.C. Section 1325(a)(5)(A), and a waiver of the
requirement under Section 1324 that the Court hold a confirmation hearing within 45 days after the date of the
meeting of creditors.



Date: September 17, 2018

Address of the Bankruptcy Clerk's Office:                    Clerk of the Bankruptcy Court:
U.S. Bankruptcy Court, Arizona
230 North First Avenue, Suite 101                            George Prentice
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000
www.azb.uscourts.gov
